           Case 2:17-cv-00246-RWS Document 49-12 Filed 10/10/18 Page 1 of 4



13307115

DAVID HUBBARD

STATE: GA

CLAIM NUMBER: 13307115

DATE OF LOSS: June 7, 2013

4/18/14 Opened in Amicus.

There is an Umbrella - CUPGA0000026827

Reserves: 02 - BI (Amy Dunn) $65K

            03 - BI (James Dunn) $30K

            04 - BI (Danielle Demonbrun) $10K

             99 - Lit Exp. $25K




Why Lit?




Clmts are Amy and James Dunn and Amy's child, Danielle Demonbrum.

Danielle's meds - $2753

James Dunn's - $15,404.42

Amy Dunn's - $14,443.56 Amy complains of loss of smell and taste.

Insured driver hit 3 pedestrians in Walmart Parking lot.

Separate coverage file being set up, also.




Diaried to 5/3/14.jch

4/18/14 E-mailed                                                        to DC.jch

4.21.14-

4/21/14                                       to DC.jch

4/21/14 I e-mail DC

4/21/14 Atty acknowledgement for suit received.jch

5/2/14- call from agent about case -

5/5/14- I return Angela's call at 404-982-2414 at Yates Insurance and




                                                           EXHIBIT
                                                                  L
                                                                                    COL-002186
            Case 2:17-cv-00246-RWS Document 49-12 Filed 10/10/18 Page 2 of 4



5/7/14-




5/15/14- we file our Answer

5/27/14- Richie reports


6/23/14- SF atty tries to subpoena our claims file!

7/23/14-



8/19/14- subpoena rec'd for our file contents from SF attorney-


8/20/14-


9/30/14-
                                                                  .

10/7/14- another subpoena request from SF atty who claims not tohave been responded to.


12/3/14-




12/30/14-


12/31/14-

3/5/15- tc with Richie-

                                                                                          .

3/6/15- receipt of depo summary of our corporate rep.




            .

3/12/15- Lawson employees' depo summaries-




3/31/15-

                                     .




                                                                                              COL-002187
            Case 2:17-cv-00246-RWS Document 49-12 Filed 10/10/18 Page 3 of 4



4/27/15- we get depos of the pltfs.



6/4/15- MSJ hearing now set for 7/17/15

6/17/15-



6/22/15- we are advised by coverage counsel


We also got pltf's response to our MSJ. The hearing is now set for July 17.




7/6/15-



7/25/15-

                                                   .

9/3/15- Report on hearing on msj from Richie-

                                      .

9/15/15- update by Richie



10/28/15-




10/29/15-                                                                                                        .

11/13/15- I ask Richie

11/19/15- we set mediation for Jan 5- I will attend by phone

1/5/16-




1/7/16- I ask Janice to issue settlement payments

1/7/16 Payment instructions were unclear.

1/7/16 Lien to Northeast Georgia Medical Center found in the file for James Dunn and Danielle Demonbren.


1/21/16 E-mailed DC

1/21/16 DC replied

1/21/16 Issued (3) settlement drafts per DDH.jch




                                                                                                           COL-002188
           Case 2:17-cv-00246-RWS Document 49-12 Filed 10/10/18 Page 4 of 4



2/20/16- closing documents rec'd- closing this file.

2/23/16 E-mailed Jackie Pauls to do a search for the SSN for both James Dunn and Danielle Demonbrum. Cannot close file until
this info is rec'd and the query runs next month.jch

2/23/16 Jackie updated ssn and dob info. Will need query date and then can close.jch

2/24/16 Query date to close file is 3/7/16. Will have to wait 15 days after this date to close.jch

3/23/16 Closed file per DDH.jch

5/10/16-



6/28/16-                                                                                                       .




                                                                                                           COL-002189
